       Case 3:22-cv-00176-CWR-LGI Document 1 Filed 04/01/22 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

EVALYNE NICHOLS FOR AND ON BEHALF
OF EDDIE T. MANNEY                                                                  PLAINTIFFS

V.                                                                     No. __________________

LAKELAND NURSING & REHABILITATION                                                DEFENDANTS
CENTER, LLC and JOHN AND JANE DOES I-X


                                   NOTICE OF REMOVAL



TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
       THE SOUTHERN DISTRICT OF MISSISSIPPI, NORTHERN DIVISION

       Zack Wallace, Clerk
       CIRCUIT COURT OF HINDS COUNTY, MISSISSIPPI
       P.O. Box 327
       Jackson, Mississippi 39205

       John F. Hawkins
       HAWKINS LAW, P.C.
       226 North President Street (39201)
       Post Office Box 24627
       Jackson, Mississippi 39225-4627
       john@hgattorneys.com

       ATTORNEY FOR PLAINTIFF

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant

Lakeland Nursing and Rehabilitation Center, LLC ("Lakeland") files this Notice of Removal of

the civil action styled Evalyne Nichols for and on behalf of Eddie T. Manney v. Lakeland

Nursing and Rehabilitation Center, LLC; Cause No. 25CI1:22-cv-00090-AHW, from the Circuit

Court of Hinds County, Mississippi, to the United States District Court for the Southern District

of Mississippi, Northern Division. In support of this Notice, Lakeland states the following:




                                               -1-
        Case 3:22-cv-00176-CWR-LGI Document 1 Filed 04/01/22 Page 2 of 5




        1.      Plaintiff Evalyne Nichols filed this medical negligence action in the Circuit Court

of Hinds County Mississippi, on February 22, 2022. The lawsuit arises out of the care and

treatment provided to Eddie T. Manney while a resident of Lakeland.             According to the

Complaint, Mr. Manney suffered injuries as a result of Lakeland's alleged negligence.

        2.      Plaintiff served Lakeland with a copy of a Summons and Complaint on March 2,

2022. See Exhibit A. This Notice of Removal is filed within thirty days of receipt of the

Summons and Complaint and is thus timely under 28 U.S.C. § 1446.

        3.      Venue is proper in the United States District Court for the Southern District of

Mississippi, Northern Division because that is the district in which the state court action was

filed. See 28 U.S.C. §§ 1446(a), 104(b)(1).

        4.      This Court has original jurisdiction over this action   there is complete diversity

of citizenship between Plaintiffs and Defendant and more than $75,000 is in controversy,

exclusive of interest and costs. See 28 U.S.C. § 1332.

        5.      Plaintiff claims that Lakeland caused Mr. Manney to suffer psychological and

emotion trauma, distress, worry, anxiety, mental suffering, physical pain, loss of enjoyment of

life, and she seeks both compensatory and punitive damages. See Complaint at ¶ 37. Such

claims for alleged serious and permanent injuries support a finding that the amount in

controversy exceeds $75,000.00. Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883 (5th Cir.

2000) (finding amount in controversy to exceed $75,000 as plaintiff sought damages for medical

expenses, physical pain and suffering, loss of wages and permanent disability and disfigurement

for injuries sustained after falling in                   Irons v. Glaxo Welcome, Inc., 2006 WL

1272797, at *2 (S.D. Miss. May 9, 2006) (citing Gebbia and holding that amount in controversy




                                                -2-
          Case 3:22-cv-00176-CWR-LGI Document 1 Filed 04/01/22 Page 3 of 5




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          6.     Diversity of citizenship exists because Plaintiff is citizen of Mississippi, and

Lakeland is not a citizen of Mississippi. As set forth in detail below, Lakeland Nursing and

Rehabilitation Center, LLC is a limited liability company whose members are all citizens of the

State of New York. Therefore, Lakeland is a citizen of New York, not Mississippi. See Harvey

v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008) (holding that the citizenship of an

LLC is that of all its members).

          7.     Lakeland

DTD HC, LLC. D&N, LLC and DTD HC, LLC are New York limited liability companies.

D&N, LLC's members are Norbert A. Bennett, the Norbert A. Bennett Children's Trust, and the

Norbert A. Bennett Grand-Children's Trust. Mr. Bennett is a citizen of New York. The Norbert

A. Bennett Children's Trust and the Norbert A. Bennett Grand-Children's Trust are traditional

trusts. The trustee of the Norbert A. Bennett Children's Trust is Ronald Bennett, a citizen of

New York, and the trustee of the Norbert A. Bennett Grand-Children's Trust is also Ronald

Bennett. See Mullins v. TestAmerica, Inc., 564 F.3d 386, 397 n. 6 (5th Cir. 2009) (citing

Navarro Savs. Ass'n v. Lee, 446 U.S. 458, 464 (1980) (holding that the citizenship of a trust is

that of its trustee)).

          8.     DTD HC, LLC's members are Donald T. Denz and the Donald T. Denz

Irrevocable Trust. Mr. Denz is a citizen of the State of New York. The Donald T. Denz

Irrevocable Trust is a traditional trust, and the trustee of the Donald T. Denz Irrevocable Trust is

Martin J. Clifford, a citizen of New York.




                                                -3-
       Case 3:22-cv-00176-CWR-LGI Document 1 Filed 04/01/22 Page 4 of 5




       9.      In accordance with 28 U.S.C. § 1446(a), Lakeland has provided notice to Plaintiff

by mailing Plaintiff's counsel a copy of this Notice and the state court Notice of Filing of Notice

of Removal. Lakeland has also provided notice to the Clerk of Court for the Circuit Court of

Hinds County, Mississippi, through the filing of this Notice and the Notice of Filing of Notice of

Removal into the record of the state court action. See Exhibit B.

       10.     The allegations of this Notice are true and correct, and as such, this cause of

action is removable to the United States District Court for the Southern District of Mississippi,

Northern Division.

       This the 1st day of April 2022.

                                             Respectfully submitted,

                                             LAKELAND NURSING AND
                                             REHABILITATION CENTER, LLC

                                             By Its Attorneys,

                                             BUTLER SNOW LLP

                                             s/ W. Davis Frye
                                             W. Davis Frye (MB No. 10671)
                                             Clay Gunn (MB No. 102920)
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                                                -4-
        Case 3:22-cv-00176-CWR-LGI Document 1 Filed 04/01/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the foregoing document with the Clerk of the

                          electronic filing system, which sent notification of such filing to all

counsel of record, including the following:

               John F. Hawkins
               HAWKINS LAW, P.C.
               226 North President Street (39201)
               Post Office Box 24627
               Jackson, Mississippi 39225-4627
               john@hgattorneys.com

               ATTORNEY FOR PLAINTIFF

        THIS the 1st day of April 2022.

                                              s/ W. Davis Frye
63651851.v1




                                               -5-
